
The Court
decided that parol testimony could not be admitted of the contents of that paper, without showing it to be lost, &amp;c.
The plaintiff produced and offered in evidence a writing signed by one Bishop, and McLane, the witness, in which they state that, having been called upon by Evans and Burford, to measure and value, &amp;c., they find a balance of ¿654.10s. Id. due from Blakeney to Evans and Burford.
The defendant objected, that this does not appear to be an award between the same parties. But the Court overruled the objection, and permitted it to be read in evidence.
Verdict and judgment for the plaintiff. Affirmed upon error, in Supreme Court of the United States, February, 1804. 2 Craneb, 185. .
